
33 N.Y.2d 802 (1973)
Arthur Puro, Appellant,
v.
Jacob Puro, Defendant, and Louis Puro et al., Respondents.
Court of Appeals of the State of New York.
Argued October 11, 1973.
Decided November 21, 1973.
Myron J. Greene, Marshall C. Berger, Nathan Cooper and Howard R. Udell for appellant.
Edward N. Costikyan, George P. Felleman and William J. Rochelle, III for Louis Puro, respondent.
Milton Davidoff and Donald Davidoff for Mildred Puro and others, as executors of Joseph Puro, respondents.
Ambrose Doskow and Abraham Porter for Irving Spanier and others, as executors of Sam Puro, respondents.
Joseph H. Einstein for Jacob Puro, amicus curiae.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN and JONES. Judges GABRIELLI and WACHTLER dissent and vote to affirm on the opinion at the Appellate Division.
Order modified, with costs, on the opinion of the trial court, by reinstating the stricken provisions of the judgment of the trial court only insofar as they affect appellant Arthur Puro, and, as so modified, affirmed.
